     Case 1:21-mc-00194-KPF Document 11 Filed 02/25/21 Page 1 of 1




                                            February 25, 2021

Via ECF
Hon. Katherine Polk Failla, U.S.D.J.
United States District Court, S.D.N.Y.
40 Foley Square, Room 2103
New York, NY 10007

       Re:    Breaking Media, Inc. dba Above The Law v. Jowers, 21-mc-00194-KPF
              Request on Consent To Extend Briefing Dates Re: Motion To Quash

Dear Judge Failla:

        We represent Petitioner Breaking Media, Inc., publisher of AboveTheLaw.com.
We write with the consent of Respondent Evan Jowers’ counsel to request that
Petitioner’s time to supplement its briefing be extended one week from February 25,
2021 to March 4, 2021; that Respondent’s time to file its Opposition or Cross-Motion be
extended one week to March 11, 2021, that Petitioner’s time to reply and/or oppose be
extended to March 18, 2021, and that the Court’s stay (ECF No. 8) be continued pending
further ruling.

        Since Your Honor’s Order last week, the parties have been conferring in an effort
to narrow the issues between them. To assist them in doing so, the parties request that
the Court approve and So Order their stipulation regarding the Motion To Quash briefing
schedule, which reflects the above dates (see ECF No. 10).

       The requested extension would not affect any other scheduled dates.

                                            Respectfully,

                                            /s/David S. Korzenik
                                            David S. Korzenik

cc: Counsel via ECF
